         Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 1 of 25




                                                                            November 19, 2020
By ECF

The Honorable Richard J. Sullivan
United States Circuit Judge
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, New York 10007

                               Notice of Supplemental Authority

           United States v. Jawad Amir Musa (f/k/a Leroy Moses), 90-cr-863 (RJS)

Dear Judge Sullivan:

        Last Friday, in an oral opinion relying principally on United States v. Brooker, 976 F.3d
228 (2d Cir. 2020), United States v. Haynes, 456 F. Supp. 3d 496 (E.D.N.Y. 2020), and United
States v. Ellerby, No. 1:95-CR-00077-CBA, Dkt. No. 172 (E.D.N.Y. Apr. 29, 2020), Judge
Edward R. Korman in the Eastern District of New York granted a motion for compassionate
release and reduced the defendant’s sentence to time served. See United States v. Facey (Davis),
No. 1:96-cr-00912-ERK (E.D.N.Y. Nov. 13, 2020), ECF No. 539. In announcing its decision,
the court cited to many of the reasons presented in Jawad Musa’s motion for compassionate
release that is currently pending before Your Honor, Dkt. No. 303. Specifically, the court noted,
among other things, the extraordinary length of the defendant’s sentence and the subsequent
legal changes that created a large disparity between the sentence the defendant received and the
one he would receive today for the same counts, finding that these factors, in addition to the
defendant’s rehabilitation, presented extraordinary and compelling reasons that warranted a
reduction in sentence. And just today, a judge in the Eastern District of North Carolina did the
same for an individual who received stacked 18 U.S.C. § 924(c) convictions, and reduced the
defendant’s sentence to what it would be today. United States v. Curtis, No. 5:92-CR-114-BR
(E.D.N.C. Nov. 19, 2020), ECF No. 136.

        Across the country, district courts have granted similar motions for relief based on other
now-defunct sentencing provisions. In United States v. Price, No. 07-0152-06 (ESH), 2020 WL
5909789 (D.D.C. Oct. 6, 2020), for example, Judge Ellen Huvelle cited to Brooker in support of
her finding that the “sentencing disparity created by the First Step Act,” in addition to the “stark
and unwarranted sentencing disparities between Mr. Price’s life sentence [mandated by § 841(b)]
and the sentences of his more culpable co-conspirators,” among other factors, warranted a
reduction in sentence. 2020 WL 5909789, at *5–6. The court reduced his “previously imposed
sentence of life imprisonment to time served.” Id. at *7.

       Similarly, in United States v. Williams, No. 5:12-cr-14, 2020 WL 5834673 (W.D. Va.
Sept. 30, 2020), Chief District Judge Michael Urbanski noted that the defendant had two minor
drug possession felonies before being indicted, allowing “the government [to move] for a
        Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 2 of 25
Hon. Richard J. Sullivan                  -2-                        November 19, 2020

sentencing enhancement under 21 U.S.C. § 851, seeking ‘an enhanced penalty of mandatory
life’” under the law at the time. 2020 WL 5834673, at * 1. The court, which voiced its
disagreement with the mandatory sentence at the time it was imposed, held that “[b]oth the
striking disparity between the short duration of Williams’ prior state court sentences and his
federal mandatory life sentence and subsequent recognition by Congress that a mandatory life
sentence is not warranted under these circumstances establish extraordinary and compelling
reasons to vacate Williams’ life sentence.” 2020 WL 5834673, at * 8. Judge Urbanski reduced
the defendant’s sentence to 188 months, the “low end of his correctly calculated sentencing
guidelines” that he would receive under today’s law. Id. at *2.

        Because these decisions bear directly on the Court’s authority to grant the relief sought
by our pending motion pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), Dkt. No. 303, we attach hereto
the decisions in Curtis, Price, and Williams.



                                                    Respectfully submitted,

                                                    /s/ John Gleeson
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Enclosure
cc:   Danielle Sassoon, Assistant United States Attorney (via ECF)
          Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 3 of 25




                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                    WESTERN DIVISION
                                     No. 5:92-CR-114-1BR

UNITED STATES OF AMERICA,                                      )
                                                               )
                  v.                                           )        ORDER
                                                               )
VAUGHN J. CURTIS                                               )

         This matter is before the court on defendant’s motion for compassionate release. (DE #

120.)

         In 1993, a jury convicted defendant of conspiracy to commit armed bank robbery in

violation of 18 U.S.C. § 371 (“Count 1”); armed bank robbery and aiding and abetting the same

in violation of 18 U.S.C. §§ 2 and 2113 (“Count 2”); and using a firearm during and in relation to

a crime of violence in violation of 18 U.S.C. § 924(c) (“Count 3”). The court sentenced

defendant to a total term of imprisonment of 297 months. Also, the court sentenced defendant to

a total term of five years supervised released, imposed a fine of $10,000, and ordered defendant

to pay $10,774 in restitution.1 Defendant appealed his conviction and sentence, and the Fourth

Circuit Court of Appeals affirmed. United States v. Curtis, No. 93-5466, 1994 WL 14848 (4th

Cir. Jan. 24, 1994) (per curiam).




1
  Prior to sentencing in this court, defendant pled guilty to armed bank robbery and violating § 924(c) in the Middle
District of North Carolina. United States v. Curtis, No. 2:92-CR-00223-CCE. After sentencing here, that court
sentenced him to 101 months imprisonment. According to defendant, based on information received from the
Bureau of Prisons, he has completed the imprisonment term this court imposed, and he is now serving the
imprisonment term imposed by the court in the Middle District of North Carolina. (Supp. Mot., DE # 121, at 1.)
Even so, defendant maintains that this court may reduce his sentence of imprisonment to a term certain, and should
it in fact do so, the Bureau of Prisons will recalculate his projected release date. (Id. at 2.) According to the
government, defendant is serving an aggregate 398-month term of imprisonment. (Resp., DE # 123, at 3.)
Nonetheless, it does not dispute that, assuming defendant otherwise satisfies the requirements of 18 U.S.C. §
3582(c)(1)(A), this court may reduce defendant’s term of imprisonment.



            Case 5:92-cr-00114-BR Document 136 Filed 11/19/20 Page 1 of 7
          Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 4 of 25




        In March 2020, defendant filed pro se a motion for compassionate release. (DE # 118.)

Pursuant to Standing Order No. 19-SO-3 (E.D.N.C. Jan. 25, 2019), the court appointed counsel

to represent defendant for purposes of the motion. In August 2020, appointed counsel filed the

instant motion as well as a supplemental motion, (DE # 121). The government filed a response

in opposition, (DE # 123), to which defendant filed a reply, (DE # 125).

        Defendant requests a reduction in his sentence of imprisonment to 141 months pursuant

to 18 U.S.C. § 3582(c)(1)(A). That statute provides in relevant part:

        The court may not modify a term of imprisonment once it has been imposed except
        that—
            (1) in any case—
                    (A) the court, upon motion of the Director of the Bureau of
                Prisons, or upon motion of the defendant after the defendant has
                fully exhausted all administrative rights to appeal a failure of the
                Bureau of Prisons to bring a motion on the defendant’s behalf or
                the lapse of 30 days from the receipt of such a request by the
                warden of the defendant’s facility, whichever is earlier, may
                reduce the term of imprisonment . . . , after considering the
                factors set forth in section 3553(a) to the extent that they are
                applicable, if it finds that—
                        (i) extraordinary and compelling reasons warrant
                        such a reduction . . .
                and that such a reduction is consistent with applicable
                policy statements issued by the Sentencing Commission[.]

18 U.S.C. § 3582(c).

        The relevant policy statement is set forth in United States Sentencing Guideline §

1B1.13, “Reduction in Term of Imprisonment Under 18 U.S.C. § 3582(c)(1)(A).” 2 “Th[at]



2
  Technically, the policy statement, which was adopted prior to the First Step Act, applies only to motions filed by
the Bureau of Prisons. See United States v. Beck, No. 1:13-CR-186-6, 2019 WL 2716505, at *5 (M.D.N.C. June 28,
2019). “The Sentencing Commission has not amended or updated the old policy statement since the First Step Act
was enacted, nor has it adopted a new policy statement applicable to motions filed by defendants. While the old
policy statement provides helpful guidance, it does not constrain the Court’s independent assessment of whether
‘extraordinary and compelling reasons’ warrant a sentence reduction under § 3582(c)(1)(A)(i).” Id. at *6-7 (citation
and footnote omitted).

                                                         2

           Case 5:92-cr-00114-BR Document 136 Filed 11/19/20 Page 2 of 7
         Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 5 of 25




policy statement . . . requires: (1) extraordinary or compelling reasons to warrant a reduction in a

defendant’s sentence, (2) that the defendant is not a danger to the safety of others or the

community, and (3) that release from custody complies with § 3553(a) factors.” United States v.

Lake, No. CR 5:16-076-DCR, 2019 WL 4143293, at *2 (E.D. Ky. Aug. 30, 2019) (citing

U.S.S.G. § 1B1.13 (2018)); see also United States v. Kibble, Criminal No. 2:19-00077, 2020 WL

3470508, at *2 (S.D.W. Va. June 25, 2020).

       Under the policy statement, extraordinary and compelling reasons justifying a sentence

reduction exist based on any of following circumstances:

       (A)      Medical Condition of the Defendant.—
               (i)      The defendant is suffering from a terminal illness (i.e., a serious and
               advanced illness with an end of life trajectory). A specific prognosis of life
               expectancy (i.e., a probability of death within a specific time period) is not
               required. Examples include metastatic solid-tumor cancer, amyotrophic
               lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.
               (ii)     The defendant is—
                        (I)     suffering from a serious physical or medical condition,
                        (II)    suffering from a serious functional or cognitive impairment,
                        or
                        (III) experiencing deteriorating physical or mental health
                                because of the aging process,
                        that substantially diminishes the ability of the defendant to
                        provide self-care within the environment of a correctional facility
                        and from which he or she is not expected to recover.
       (B)       Age of the Defendant.—The defendant (i) is at least 65 years old; (ii) is
       experiencing a serious deterioration in physical or mental health because of the
       aging process; and (iii) has served at least 10 years or 75 percent of his or her term
       of imprisonment, whichever is less.
       (C)     Family Circumstances.
               (i)     The death or incapacitation of the caregiver of the defendant’s minor
               child or minor children.
               (ii)      The incapacitation of the defendant’s spouse or registered partner
               when the defendant would be the only available caregiver for the spouse or
               registered partner.
       (D)      Other Reasons.—As determined by the Director of the Bureau of Prisons,
       there exists in the defendant’s case an extraordinary and compelling reason other
       than, or in combination with, the reasons described in subdivisions (A) through (C).

U.S.S.G. § 1B.13, cmt. n.1.

                                                  3

          Case 5:92-cr-00114-BR Document 136 Filed 11/19/20 Page 3 of 7
         Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 6 of 25




        Even if a defendant establishes extraordinary and compelling reasons to support a

sentence reduction, the court must still consider the applicable § 3553(a) factors. See 18 U.S.C.

§ 3582(c)(1)(A); United States v. Chambliss, 948 F.3d 691, 693 (5th Cir. 2020).

        These factors include: “(1) [Defendant’s] personal history and characteristics; (2)
        his sentence relative to the nature and seriousness of his offense; (3) the need for a
        sentence to provide just punishment, promote respect for the law, reflect the
        seriousness of the offense, deter crime, and protect the public; (4) the need for
        rehabilitative services; (5) the applicable guideline sentence; and (6) the need to
        avoid unwarranted sentencing disparities among similarly-situated defendants.”

United States v. Adona, No. CR PX-17-345, 2020 WL 4338889, at *2 (D. Md. July 28, 2020)

(citation omitted) (alteration in original).

        At the outset, the government argues defendant’s motion should be denied because he has

failed to exhaust his administrative remedies. (Resp., DE # 123, at 16-17.) According to the

government, the Bureau of Prisons (“BOP”) has no record of defendant filing a request for

compassionate release through its Administrative Remedy Program. (Kelley Aff., DE # 123-1,

at 2.) In response, defendant submits the copies of his 1 February 2020 letter to the Warden

requesting consideration for a reduction in his sentence and of subsequent email correspondence

between the Warden and himself regarding the request. (Reply, DE # 125, at 3 (citing Mot., Exs.

1, 2, DE ## 120-1, 120-2; see also Mot., DE # 118, at 1.) The court concludes that defendant has

demonstrated that he made a request of the Warden pursuant to § 3582(c)(1)(A)(i) and more than

30 days lapsed since that time, without his receiving a written denial. Therefore, he has satisfied

§ 3582(c)(1)(A)’s exhaustion requirement.

        Turning to the merits, defendant contends the changes in § 924(c) sentences under the

First Step Act of 2018 (“First Step Act”), combined with the threat COVID-19 poses to his

health while incarcerated, constitute extraordinary and compelling reasons to modify his

sentence. (Mot., DE # 120, at 7-8.) The government argues defendant’s sentence should not be

                                                  4

          Case 5:92-cr-00114-BR Document 136 Filed 11/19/20 Page 4 of 7
        Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 7 of 25




reduced because he has not demonstrated any extraordinary or compelling reason to justify a

reduction. (Resp., DE # 123, at 1.) Also, the government urges the court to deny the motion

considering the § 3553(a) factors and the danger defendant would pose to the community. (Id.)

       First, the court examines defendant’s sentence of imprisonment. On Counts 1 and 2,

defendant’s guideline imprisonment range was 57 to 71 months. (PSR ¶ 50.) The court

sentenced defendant at the bottom of the range on those counts. For Count 3, because defendant

had previously pled guilty to a § 924(c) violation, see supra note 1, the court was required to

sentence defendant to a 20-year consecutive term of imprisonment. See 18 U.S.C. § 924(c)(1)

(1990) (“In the case of his second or subsequent conviction under this subsection, such person

shall be sentenced to imprisonment for twenty years . . . . [T]he term of imprisonment imposed

under this subsection [shall not] run concurrently with any other term of imprisonment . . . .”);

Curtis, 1994 WL 14848, at *1 (holding this court properly applied the § 924(c) enhancement

because defendant “has been found guilty, on two separate occasions, of using a firearm in

relation to the commission of a felony” (citations omitted)). (See also PSR ¶¶ 49, 50.)

       “The First Step Act amended 18 U.S.C. § 924(c)(1)(C) such that the enhanced mandatory

minimum penalty for a second or any subsequent § 924(c) conviction, . . . applies only when an

offender’s first conviction under § 924(c) was ‘final’ when the subsequent violation was

committed.” United States v. Redd, 444 F. Supp. 3d 717, 720 (E.D. Va. 2020) (citing First Step

Act of 2018, Pub. L. No. 115-391, § 403(a), 132 Stat. 5194, 5221-22) (footnote omitted). If this

law had been in effect when defendant committed the offense in Count 3, defendant’s mandatory

consecutive term of imprisonment would have been seven years because his prior § 924(c)

conviction was not final. See 18 U.S.C. § 924(c)(1)(A)(ii) (2018) (providing a penalty of seven




                                                 5

          Case 5:92-cr-00114-BR Document 136 Filed 11/19/20 Page 5 of 7
          Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 8 of 25




years imprisonment if the firearm is brandished). (See also PSR ¶ 10 (stating that defendant

brandished a weapon inside the bank).)

         The Act did not make this change in the law retroactive. See First Step Act of 2018, §

403(b), 132 Stat. at 5222. It did, however, amend the statute under which defendant seeks relief,

§ 3582(c)(1)(A), to permit a defendant to bring a motion for a sentence reduction directly, rather

than vesting that authority exclusively with the BOP. See id., § 603(b)(1), 132 Stat. at 5239.

Numerous district courts have found the First Step Act’s change in § 924(c) sentencing, despite

the fact Congress did not make it retroactive, constitutes an extraordinary and compelling reason

justifying a reduction in a defendant’s sentence under § 3582(c)(1)(A). See, e.g., United States

v. Arey, 461 F. Supp. 3d 343, 349-50 & n.8 (W.D. Va. 2020) (collecting cases); but see, e.g.,

United States v. Gashe, No. CR07-4033-LTS, 2020 WL 6276140, at *2 (N.D. Iowa Oct. 26,

2020) (collecting cases). The court follows those decisions under the circumstances here, where

defendant is serving a sentence 13 years longer than would a person convicted today for the same

offense. This sentencing disparity constitutes an extraordinary and compelling reason to warrant

reducing defendant’s sentence.3

         Next, the court considers the relevant § 3553(a) factors and the potential danger

defendant would pose to the community. Defendant has been incarcerated 28 years. With good

time credit, he is projected to be released in less than one year. (See Mot., Ex 3, DE # 120-2, at


3
  Defendant has an increased risk of contracting COVID-19 given his incarceration. See Centers for Disease
Control and Prevention, https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/faq html (go
to People Who are Incarcerated at Correctional and Detention Facilities, select Do I have a greater chance of getting
COVID-19? (“People in correctional and detention facilities are at greater risk for some illnesses, such as COVID-
19, because of close living arrangements with other people.”) (last visited Nov. 18, 2020). Also, his age (51 years
old) increases his risk of severe illness from COVID-19. See id., https://www.cdc.gov/coronavirus/2019-ncov/need-
extra-precautions/older-adults html (“As you get older, your risk for severe illness from COVID-19 increases. For
example, people in their 50s are at higher risk for severe illness than people in their 40s.”) (last visited Nov. 18,
2020). These facts arguably bolster the conclusion that extraordinary and compelling reasons exist to warrant
reducing his sentence.


                                                         6

            Case 5:92-cr-00114-BR Document 136 Filed 11/19/20 Page 6 of 7
         Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 9 of 25




1.) His security classification is low. (Id.) While incarcerated, defendant has sustained six

disciplinary infractions (low or moderate severity), the last of which occurred more than five

years ago. (Id. at 2.) He has taken numerous educational courses, maintained employment, and

obtained his GED. (Id. at 1-2.) He is making payments towards his financial obligations. (Id. at

3.) To be sure, the instant offenses are serious. However, given defendant’s age, conduct during

incarceration, and the significant length of time since his offenses, the court finds it unlikely

defendant will be a danger to the community. Considering all the circumstances, reducing

defendant’s sentence of imprisonment to 141 months still provides just punishment and reflects

the seriousness of the offenses he committed.

       Defendant’s motion for compassionate release and supplemental motions are

ALLOWED. Defendant’s pro se motion for compassionate release is DENIED as moot. For

purposes of the record, the Clerk is DIRECTED to file under seal on the docket defendant’s

presentence report.

       Defendant’s sentence of imprisonment as reflected in the judgment dated 7 June 1993 is

REDUCED to 84 months on Count 3, for a total term of 141 months. All other provisions of the

7 June 1993 judgment shall remain in effect. The BOP may delay defendant’s release up to 14

days for quarantine and/or administrative reasons.

       This 19 November 2020.




                                       __________________________________
                                                       W. Earl Britt
                                                       Senior U.S. District Judge




                                                  7

          Case 5:92-cr-00114-BR Document 136 Filed 11/19/20 Page 7 of 7
              Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 10 of 25
United States v. Price, Slip Copy (2020)
2020 WL 5909789

                                                                   was sentenced to the statutory mandatory minimum of life
                                                                   imprisonment and 10 years of supervised release. (Id.) As
                  2020 WL 5909789
                                                                   discussed infra, due to amendments in the relevant statutes,
    Only the Westlaw citation is currently available.
                                                                   Mr. Price's statutory mandatory minimum if he were being
   United States District Court, District of Columbia.
                                                                   sentenced today would be 15 years. If he were serving a 15-
                                                                   year sentence, the Bureau of Prisons calculates that, with good
           UNITED STATES of America
                                                                   time credits, Mr. Price would have been released in March
                       v.                                          2020.
            Helery PRICE, Defendant.
                                                                   Mr. Price is currently incarcerated at USP Lewisburg. On
              Criminal No. 07-0152-06 (ESH)                        August 13, 2020, he sent a letter to the warden there, asking
                             |                                     that he be considered for compassionate release pursuant
                   Signed 10/06/2020                               to § 3582(c)(1)(A)(i) in light of the COVID-19 pandemic,
                                                                   his personal characteristics that increase his risk should he
Attorneys and Law Firms                                            contract the virus (57 years old, African American, and male),
                                                                   the fact that he is serving a life sentence for a non-violent drug
Bernard J. Delia, U.S. Attorney's Office Special Proceedings
                                                                   offense that would not apply today given the recent changes to
Section, Pamela Stever Satterfield, Anthony F. Scarpelli,
                                                                   criminal sentencing laws made by the First Step Act of 2018,
Kacie McCoy Weston, John K. Han, William John O'Malley,
                                                                   and the unwarranted sentencing disparities between Mr. Price
Jr., Yasmin Emrani, U.S. Attorney's Office for the District of
                                                                   and his more culpable co-conspirators. (See Def.’s Mot. at 1 &
Columbia, Washington, DC, for United States of America.
                                                                   attachment thereto.) Mr. Price's request was denied that same
Booth M. Ripke, Larry Allen Nathans, Nathans & Biddle,             day. (Id.)
LLP, Baltimore, MD, Richard Alan Seligman, Law Offices
of Richard Seligman, Washington, DC, William Lawrence              Mr. Price filed the pending motion for compassionate release
Welch, III, Columbia, MD, for Defendant.                           on August 31, 2020, and a supplement thereto on September
                                                                   6, 2020 (ECF No. 449). The government filed an opposition
Helery R. Price, Lewisburg, PA, pro se.                            on September 8, 2020 (ECF No. 452), and Mr. Price filed a
                                                                   reply on September 11, 2020 (ECF No. 453), and a second
                                                                   supplement on September 27, 2020 (ECF No. 454).
MEMORANDUM OPINION

ELLEN S. HUVELLE, United States District Judge
                                                                   ANALYSIS
 *1 Before the Court is defendant Helery Price's Motion for
                                                                   Defendant seeks compassionate release pursuant to 18 U.S.C.
Compassionate Release under 18 U.S.C. § 3582(c)(1). (See
                                                                   § 3582(c)(1)(A)(i). As amended by the First Step Act of 2018,
Def.’s Mot., ECF No. 448.) He seeks a sentence reduction to
                                                                   § 3582(c)(1) provides that:
time served based on “extraordinary and compelling reasons.”
Id. § 3582(c)(1)(A)(i). For the reasons stated herein, the           The court may not modify a term of imprisonment once it
motion will be granted.                                              has been imposed except that ...

                                                                     (A) the court, upon motion of the Director of the Bureau
                                                                     of Prisons, or upon motion of the defendant after the
BACKGROUND
                                                                     defendant has fully exhausted all administrative rights
In 2008, after a jury trial, Mr. Price was convicted of a single     to appeal a failure of the Bureau of Prisons to bring a
count of conspiracy to possess with intent to distribute and         motion on the defendant's behalf or the lapse of 30 days
to distribute one kilogram or more of phencyclidine (“PCP”),         from the receipt of such a request by the warden of the
in violation of 21 U.S.C. §§ 846, 841(a)(1), 841(b)(1)(A)            defendant's facility, whichever is earlier, may reduce the
(iv), 851. (Judgment, Aug. 11, 2008, ECF No. 277.) At the            term of imprisonment (and may impose a term of probation
time he was sentenced, due to two prior drug convictions, he         or supervised release with or without conditions that does
                                                                     not exceed the unserved portion of the original term of


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              Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 11 of 25
United States v. Price, Slip Copy (2020)
2020 WL 5909789

  imprisonment), after considering the factors set forth in         not be released based on a consideration of the § 3553(a)
  section 3553(a) to the extent that they are applicable, if it     factors and because his release would pose a danger to the
  finds that--                                                      community. Each argument will be addressed in turn.

      *2 (i) extraordinary and compelling reasons warrant
     such a reduction....                                           I. EXHAUSTION
                                                                    Section 3582(c) allows a defendant to bring a motion
  and that such a reduction is consistent with applicable           for compassionate release “after the defendant has fully
  policy statements issued by the Sentencing Commission....         exhausted all administrative rights to appeal a failure of the
18 U.S.C. 3582(c)(1).                                               Bureau of Prisons to bring a motion on the defendant's behalf
                                                                    or the lapse of 30 days from the receipt of such a request by
Prior to the First Step Act, motions for compassionate              the warden of the defendant's facility, whichever is earlier.”
release could only be brought by the Director of the                18 U.S.C. § 3582(c). The parties dispute the meaning of
Bureau of Prisons (“BOP”). See Pub. L. No. 115-391,                 this provision. Defendant argues that his motion is properly
132 Stat. 5194, 5239 (2018) (“Increasing the Use and                before the Court because more than 30 days have passed
Transparency of Compassionate Release”). Because the                since August 12, 2020, when he submitted his request to
Sentencing Commission's applicable policy statement was             the warden of USP Lewisburg. The government argues that
issued before the passage of the First Step Act, it only            because the warden denied defendant's request, as opposed to
contemplates motions filed by the Bureau of Prisons, not by         not responding to it, the 30-day waiting period does not apply
defendants.1 In relevant part, it provides:                         and defendant cannot satisfy the exhaustion requirement until
                                                                    all administrative appeals have been exhausted. (See Gov't
  Upon motion of the Director of the Bureau of Prisons under        Opp. at 12 (“Courts have interpreted the First Step Act to
  18 U.S.C. § 3582(c)(1)(A), the court may reduce a term of         mean that an inmate must fully exhaust his administrative
  imprisonment ... if, after considering the factors set forth in   remedies unless his or her warden does not respond to
  18 U.S.C. § 3553(a), to the extent that they are applicable,      the inmate's request within 30 days.”).) The government's
  the court determines that—                                        proposed interpretation is contrary to the plain language of
                                                                    the statute, which provides that a defendant can either exhaust
  (1) (A) Extraordinary and compelling reasons warrant the
                                                                    administrative appeals or wait 30 days. See, e.g., United
  reduction; ...
                                                                    States v. Franco, 2020 WL 5249369 at *1-2, No. 20-60473
  (2) The defendant is not a danger to the safety of any other      (5th Cir. Sept. 3, 2020); United States v. Algur, 960 F.3d
  person or to the community, as provided in 18 U.S.C. §            831, 833-34 (6th Cir. 2020). Indeed, such an interpretation
  3142(g); and                                                      would undermine the First Step Act's goal of expanding the
                                                                    use of compassionate release by removing the BOP as a
   (3) The reduction is consistent with this policy statement.      gatekeeper to judicial consideration of sentence reduction
U.S.S.G. § 1B1.13. In Application Note 1, the Commission            motions. Accordingly, because more than 30 days have
identifies four types of circumstances that may qualify as          passed since defendant submitted his request to the warden
extraordinary and compelling: (A) the defendant's medical           of his facility, Mr. Price satisfies this first requirement for
condition; (B) the defendant's age, if combined with                compassionate release.
deteriorating physical or mental health and a minimum
amount of time served; (C) certain family circumstances; and
(D) “other reasons—as determined by the Director of the             II.    EXTRAORDINARY               AND      COMPELLING
Bureau of Prisons” independent of or in combination with the        REASONS
reasons listed in subsections (A) to (C). See U.S.S.G. § 1B.13       *3 Mr. Price argues that extraordinary and compelling
appl. n.1(A)–(D).                                                   reasons exist to reduce his sentence because (1) changes
                                                                    in sentencing law mean that he is serving a mandatory life
The government opposes defendant's motion, arguing that (1)         sentence while a similarly-situated defendant sentenced today
he has failed to satisfy the statutory exhaustion requirement;      would face only a 15-year mandatory minimum; (2) his
(2) his reasons for seeking a sentence reduction are not            life sentence far exceeds the sentences of more culpable
“extraordinary and compelling”; and (3) even if he had              co-conspirators; and (3) the injustice of his situation is
presented extraordinary and compelling reasons, he should           exacerbated by the ongoing COVID-19 pandemic, which he


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               Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 12 of 25
United States v. Price, Slip Copy (2020)
2020 WL 5909789

is at greater risk of contracting while in prison and which,         2020 WL 5739712, at *7, the question remains whether
because he is an older, black, male, who has health issues, is       the extraordinary and compelling reasons cited by Mr. Price
more likely to cause him serious illness or death.                   warrant compassionate release. The Court concludes they do.

Before deciding whether these circumstances constitute               First, from the outset, this Court was deeply disturbed by
extraordinary and compelling reasons under § 3582(c), the            having to impose a statutory mandatory minimum sentence of
Court must address a legal question: whether the fact that           life imprisonment. His prior two non-violent drug convictions
Section 3582(c) requires that any sentence reduction be              hardly merited a life sentence. The first conviction was a
“consistent with applicable policy statements issued by the          then-20-year old conviction from 1988, when he was 25
Sentencing Commission” means that a court is limited to              years old, in the Superior Court for the District of Columbia.
the specific reasons set forth in U.S.S.G. § 1B1.13, none of         It involved a minimal amount of drugs, and although he
which apply to Mr. Price, or whether it has the discretion           was sentenced to 20 months to 5 years, the execution of
to decide that a reason is extraordinary and compelling              the sentence was suspended and he was placed on three
even if it is not a reason that falls within the Sentencing          years of probation. The second conviction was in federal
Commission's policy statement. Because this policy statement         court in 1994, when Mr. Price was 30. The amount of drugs
predates the First Step Act's substantial changes to the             was still relatively small, 18.3 grams of heroin, but he was
compassionate release process, which were designed to                sentenced to 10 years. At sentencing, the Court observed that
expand the use of compassionate release and remove the               a sentence of life imprisonment was excessive for a defendant
BOP as the exclusive gatekeeper of the process, a number             convicted of a non-violent drug offense who had two prior
of district courts, as well as one court of appeals, have            drug convictions:
concluded that the policy statement no longer binds district
courts. See United States v. Brooker, No. 19-3218-CR,                  I think that the drug laws in this regard are completely
2020 WL 5739712, at *5 (2d Cir. Sept. 25, 2020) (“First                draconian. I will say for the Court of Appeals I would not
Step Act empowered district courts evaluating motions for              impose a life sentence merely because of your prior record.
compassionate release to consider any extraordinary and                That's what's driving it.... But this is not, this particular
compelling reason for release that a defendant might raise”);          offense is not a crime of violence meriting life. People who
United States v. Quinn, No. 91-cr-00608, 2020 WL 3275736,              commit murder and such heinous crimes as that deserve
at *5 (N.D. Cal. June 17, 2020) (“Sentencing Commission's              life, but I have no choice whatsoever under 841 but to
policy statement no longer binds district courts after the             impose a life sentence.
First Step Act; instead, courts are free to determine whether        (Sent. Hr'g Tr. at 36, Aug. 7, 2008.)
any extraordinary and compelling reasons other than those
delineated in [the Sentencing Guidelines policy statement]           Congress has now recognized that the sentencing scheme
warrant compassionate release.” (internal quotation marks            in place in 2008 was, in this Court's words, “draconian,”
                                                                     such that today a defendant similarly-situated to Mr. Price
omitted)).2 While there is a split of authority,3 this Court finds
                                                                     would face only a 15-year mandatory minimum. (See Supp.
the many opinions that endorse an expansive reading of a
                                                                     Mot. at 1-2 (explaining why due to amendments to the drug
sentencing court's power, given the changes instituted by the
                                                                     sentencing laws, the 1988 conviction would no longer count
First Step Act and the fact that the policy statement has not
                                                                     and the mandatory minimum sentence for one prior drug
been amended since its enactment, to be more persuasive.
                                                                     conviction is now 15 years).) But those changes to the law
See, e.g., United States v. Duncan, No. 3:11-cr-00012, 2020
                                                                     have not been made retroactive. Nonetheless, this situation,
WL 4669944 at *5 (M.D. Tenn. Aug. 12, 2020) (summarizing
                                                                     as a number of courts have recognized, can present an
cases that set forth multiple reasons for concluding that
                                                                     extraordinary and compelling reason to reduce a defendant's
“factors tip the scale in favor of the conclusion that a court
                                                                     sentence, even in the absence of serious health issues. See,
can look at ‘other reasons’ when considering ‘extraordinary
                                                                     e.g., United States v. Arey No. 5:05-cr-0029, 2020 WL
and compelling’ reasons under the First Step Act”).
                                                                     2464796, at *3 (W.D. Va. May 13, 2020) (“The fact that if
                                                                     [the defendant] were sentenced today for the same conduct he
 *4 Having concluded that “the First Step Act freed
                                                                     would likely receive a dramatically lower sentence than the
district courts to consider the full slate of extraordinary and
                                                                     one he is currently serving constituted an ‘extraordinary and
compelling reasons that an imprisoned person might bring
                                                                     compelling’ reason justifying potential sentence reduction
before them in motions for compassionate release,” Brooker,
                                                                     under § 3582(c)(1)(A).”); United States v. Day, No. 1:05-


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              Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 13 of 25
United States v. Price, Slip Copy (2020)
2020 WL 5909789

cr-460, 2020 WL 4251803, at *12 (E.D. Va. July 23,                dismissed and he was sentenced to 21 years for the PCP drug
2020) (finding extraordinary and compelling reasons where         conspiracy. He now has a projected release date in 2025.
“were Defendant sentenced today, his sentence with respect
to Count 1 would be dramatically different. Instead of a          Anthony Suggs was supplied by Lonnell Glover, and he
mandatory Life sentence (predicated on two qualifying § 851       then distributed to Ernest Glover, Mr. Price and others.
offenses), Defendant would today face a mandatory minimum         Anthony Suggs was tried with Ernest Glover and Mr. Price.
sentence of 15 years (predicated on a single qualifying §         He was convicted of one count of conspiracy and also one
851 offense), with a substantially lower than Life Guidelines     substantive count of distribution. He had one prior conviction
sentence.”); see also United States v. Quinn, 2020 WL             for distribution of 5 grams or more of cocaine, for which
3275736, at *4 (“enormous sentencing disparity created by         he had been sentenced to 87 months. Based on that prior
subsequent changes to federal sentencing law ... constitutes an   conviction, his statutory mandatory sentence was 240 months,
‘extraordinary and compelling reason’ for ... compassionate       which the Court imposed. The Court noted at the time that
release”); Bellamy v. United States, No. 2:03-cr-197, 2020        Mr. Suggs was “far more culpable” than either Ernest Glover
WL 4208446, at *6 (E.D. Va. July 22, 2020) (considering “the      or Mr. Price, who were subject to mandatory life sentences.
disparity between individuals sentenced before and after the      (Sent. Hr'g Tr. at 27) (“[n]ot that Mr. Suggs isn't far more
passage of the FIRST STEP Act”); United States v. Urkevich,       culpable than the other people who because of a statute I'm
No. 8:03-cr-37, 2019 WL 6037391, at *8 (D. Neb. Nov.              going to end up sentencing for much longer, that doesn't seem
14, 2019) (“A reduction ... is warranted by extraordinary         to make sense one bit to me”). However, because the Court
and compelling reasons, specifically the injustice of facing a    also considered the mandatory minimum sentence of 20 years
term of incarceration forty years longer than Congress now        for Anthony Suggs to be excessive (Sent. Hr'g Tr. at 27),
deems warranted for the crimes committed.”); United States v.     there was no fair way to mitigate the sentencing disparity. The
Maumau, No. 2:08-cr-0758, 2020 WL 806121, at *7 (D. Utah          disparity is now even greater because after serving a little over
Feb. 18, 2020) (“[T]he changes in how § 924(c) sentences are      13 years (approximately 77% of his sentence based on his
calculated is a compelling and extraordinary reason to provide    projected release date), Mr. Suggs was granted compassionate
relief on the facts present here.”).                              release due to his medical conditions and the COVID-19
                                                                  pandemic and this Court's determination that none of the goals
 *5 In addition to the sentencing disparity created by the        of sentencing required his continued incarceration. See United
First Step Act, there are stark and unwarranted sentencing        States v. Suggs, No. 07-cr-0152-01, 2020 WL 5816485, at
disparities between Mr. Price's life sentence and the sentences   *1-3 (D.D.C. Sept. 29, 2020).
of his more culpable co-conspirators: Lonnell Glover,
Anthony Suggs, and Ernest Glover.                                 Ernest Glover was supplied by Anthony Suggs, and he
                                                                  then sold to various street level dealers. Like Mr. Price,
Lonnell Glover was the kingpin in this drug conspiracy.           Ernest Glover was convicted of one count of conspiracy
He was tried separately, convicted, and sentenced to life         and, because he also had two prior convictions,4 sentenced
imprisonment. See Judgment, United States v. Lonnell Glover,      to mandatory life imprisonment. Unlike Mr. Price, though,
No. 07-cr-153 (D.D.C. Aug. 6, 2010). He was also separately       Ernest Glover was in possession of eight ounces of PCP,
charged and convicted of conspiracy to distribute five            scales, packaging vials, and three shotguns, along with
kilograms or more of cocaine, for which he received a             ammunition, at the time of his arrest. In 2017, due to a
sentence of 240 months imprisonment. See Judgment, United         grant of executive clemency, Ernest Glover's sentence was
States v. Lonnell Glover, No. 09-cr-129 (D.D.C. June 24,          reduced to 240 months, creating an inexplicable disparity
2010). However, both convictions were overturned on appeal        between him and Mr. Price. This disparity is now even greater
because the Court of Appeals found that the bug on his            because after serving almost 12 years (approximately 70%
truck was unlawful. See United States v. Lonnell Glover,          of his sentence based on his projected release date), Ernest
736 F.3d 509 (D.C. Cir. 2013). On remand, despite Lonnell         Glover was granted compassionate release due to his medical
Glover's substantial criminal history, including several crimes   conditions and the COVID-19 pandemic and this Court's
of violence, and his leadership role in two different drug        determination that none of the goals of sentencing required
distribution rings, the government agreed to an 11(c)(1)(C)       his continued incarceration. See United States v. Glover, No.
plea, pursuant to which the cocaine conspiracy charges were       07-cr-00152-04, 2020 WL 4923635, at *1-4 (D.D.C. Aug. 21,
                                                                  2020).



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               Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 14 of 25
United States v. Price, Slip Copy (2020)
2020 WL 5909789

                                                                      Court concludes that Mr. Price does not pose a danger to
 *6 Thus, as it now stands, both Anthony Suggs and Ernest             the community. First, even though Mr. Price was convicted
Glover have been released from prison and Lonnell Glover is           of conspiracy to possess with intent to distribute and to
due to be released in 2025, while Mr. Price is still serving a life   distribute phencyclidine, he did not engage in any violent
sentence. These unwarranted sentencing disparities provide a          conduct. Indeed, the only evidence tying Mr. Price to the
further compelling reason to reduce Mr. Price's sentence.             drug conspiracy that led to his conviction were references
                                                                      made by his co-conspirators in wiretapped conversations. In
Finally, Mr. Price is a 57-year-old African-American man              addition, the last of Mr. Price's prior convictions dates back
with some health issues, and, as such, he is at greater risk from     to 1993, more than 27 years ago, and according to his current
the COVID-19 pandemic than a younger and healthier inmate.            inmate profile his recidivism risk level is “low.” (See Gov't
While the there are no current active cases at Lewisburg, there       Ex. C, ECF No. 452-3.) Moreover, although he is housed
have been 84 cases in the past and the potential for another          in a medium security facility, the government acknowledges
breakout is always present.                                           that his prison record does not include any history of violent
                                                                      infractions. Finally, as previously discussed, the life sentence
Given all of the above, the Court finds that there are                that Mr. Price is serving was required by statute, based on
extraordinary and compelling reasons to reduce Mr. Price's            the offense of convictions and his prior convictions; it did
sentence of life imprisonment.                                        not reflect this Court's judgment that Mr. Price posed a
                                                                      danger to the public. Indeed, as the Court expressed at the
                                                                      time, it considered the life sentence to be completely out of
III. § 3553(A) FACTORS                                                proportion to Mr. Price's culpability, and it would never have
Section 3553(a) provides that in determining an appropriate           imposed that sentence had it not been required to do so.
sentence, a court must take into account “the nature
and circumstances of the offense and the history and                   *7 For the same reasons, the Court finds that none of
characteristics of the defendant,” as well as, inter alia, afford     the purposes of sentencing would be served by continuing
adequate deterrence, provide just punishment, and protect the         to incarcerate Mr. Price. He is now 57 years old. He has
public. See id. § 3553(a)(1)-(2). Moreover, a sentence must be        been incarcerated since 2007, so he has already served over
“sufficient, but not greater than necessary,” to promote these        13 years. Had current law been in effect at the time he
goals. See id. § 3553(a). Having considered the § 3553(a)             was sentenced in 2008, he would have faced a 15-year
factors, the Court concludes that a sentence reduction to time        mandatory minimum sentence. In all likelihood, that is the
served is warranted.                                                  sentence the Court would have imposed as the underlying
                                                                      criminal conduct, while serious, did not involve any firearms
The government argues that the § 3553(a) factors weigh                or allegations of violence. With good time credits, he would
against a sentence reduction because Mr. Price has not                already have been released. The unusual nature of this case
shown that he “is not a danger to the safety of any other             and unjustified disparities in sentencing have already been
person or to the community.” (Gov't Opp. at 16 (quoting               addressed. The two co-defendants who were convicted at the
U.S.S.G. § 1B1.13(2)).) The only facts the government relies          same trial were both more culpable than Mr. Price, yet both
on to support its view are that defendant “received a life            have already been released. In addition, Mr. Price has had
sentence for his role in a serious crime”; he had several prior       minimal disciplinary issues over the 13 years he has been in
convictions and arrests before his conviction in this case; and       prison, and he has completed a number of programs, including
he is serving his sentence in a “medium” security prison.             an 1,120 hour electrical apprentice program and 40-hour and
(Gov't Opp. at 16.) As Judge Contreras recently pointed out,          500-hour substance abuse programs. Finally, Mr. Price plans
if the Court were to agree that these facts, without more,            to reside with a family member, and his release plan has been
were sufficient to demonstrate that a defendant would pose            reviewed and approved by the United States Probation Office.
a “danger to public safety,” “very few, if any, defendants
who have served lengthy sentences would be able to take               Taking all the above into consideration, the Court does not
advantage of the First Step Act ... a result [that] appears           agree that additional time in prison is necessary to achieve
contrary to the purpose of the First Step Act amendments.”            any of the goals of sentencing.
See United States v. Brown, No. 92-cr-0345, slip op. at 12
(D.D.C. July 2, 2020), ECF No. 93. Rather, the Court must
consider the entire record, and based on this record, the


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             Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 15 of 25
United States v. Price, Slip Copy (2020)
2020 WL 5909789

                                                                release to include a three-month period of home detention,
CONCLUSION
                                                                with location monitoring at the discretion of the Probation
For the reasons stated above, the Court finds that              Office. A separate Order accompanies this Memorandum
extraordinary and compelling reasons warrant a sentence         Opinion.
reduction. Accordingly, the Court will grant defendant's
motion for compassionate release and reduce his previously
                                                                All Citations
imposed sentence of life imprisonment to time served. In
addition, the Court will modify the conditions of supervised    Slip Copy, 2020 WL 5909789


Footnotes
1      The Sentencing Commission has lacked a quorum since the passage of the First Step Act and thus has been unable to
       enact any amendments to the Sentencing Guidelines.
2      See also United States v. Duncan, No. 3:11-cr-0012, 2020 WL 4669944, at *5 (M.D. Tenn. Aug. 12, 2020); United States
       v. Day, No. 1:05-cr-460, 2020 WL 4251803, at *11, No. 1:05-cr-460 (E.D. Va. July 23, 2020); Bellamy v. United States,
       No. 2:03-cr-197, 2020 WL 4208446, at *6 (E.D. Va. July 22, 2020); United States v. Arey, No. 5:05-cr-0029, 2020 WL
       2464796, at *3 (W.D. Va. May 13, 2020); United States v. Haynes, No. 93-cr-1043, 2020 WL 1941478, at *14 (E.D.N.Y.
       Apr. 22, 2020);United States v. Marks, No. 03-cr-6033, 2020 WL 1908911, at *5 (W.D.N.Y. Apr. 20, 2020); United States
       v. Decator, 452 F. Supp, 3d 320, 324 (D. Md. 2020); United States v. Redd, 444 F. Supp. 3d 717, 726-27 (E.D. Va. 2020);
       United States v. Young, No. 2:00-cr-0002-1, 2020 WL 1047815, at *6 (M.D. Tenn. Mar. 4, 2020); United States v. Beck,
       425 F. Supp. 3d 573, 579 (M.D.N.C. 2019). United States v. Rodriguez, 424 F. Supp. 3d 674, 681-82 (N.D. Cal. 2019);
       United States v. Bucci, 409 F. Supp. 3d 1, 2 (D. Mass. 2019).
3      See, e.g., United States v. Fox, No. 2:14-cr-03, 2019 WL 3046086, at *2 (D. Me. July 11, 2019).
4      Like Mr. Price, Ernest Glover had two prior convictions for drug distribution: one in Superior Court that resulted in a
       sentence of three years probation; and one in federal court that resulted in a 108-month sentence of imprisonment.


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               Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 16 of 25
United States v. Williams, Slip Copy (2020)
2020 WL 5834673

                                                                detailed in the previous opinions and the court will only
                                                                reiterate the relevant facts as necessary to his motion for
                    2020 WL 5834673
                                                                compassionate release.
      Only the Westlaw citation is currently available.
       United States District Court, W.D. Virginia,
                                                                At the time the court imposed the mandatory life sentence,
                 Harrisonburg Division.
                                                                Williams was only 22 years old. When he was 18 years
                                                                old, Williams was convicted of two cocaine possession
            UNITED STATES of America
                                                                felonies in Florida, for which he served 28 and 19 days,
                      v.                                        respectively. Despite Williams' age and the de minimus nature
     Antonio Demetrius WILLIAMS, Defendant                      of his predicate convictions, the government moved for a
                                                                sentencing enhancement under 21 U.S.C. § 851, seeking “an
                     Case No. 5:12-cr-14                        enhanced penalty of mandatory life (and a minimum period of
                              |                                 supervised release of at least 10 years) for individuals having
                     Signed 09/29/2020                          three prior drug felony convictions.” ECF No. 96.2
                              |
                      Filed 09/30/2020                          Although the government's § 851 notices for Williams' two
                                                                prior Florida state drug convictions met the then-required
Attorneys and Law Firms
                                                                definition of “felony drug offenses” under 18 U.S.C. § 841(b)
Jean Barrett Hudson, United States Attorneys Office,            (1)(A), it is striking that Williams committed those crimes
Charlottesville, VA, Jeb T. Terrien, Grayson A. Hoffman,        shortly after his 18th birthday and that his combined sentence
United States Attorneys Office, Harrisonburg, VA, Jennifer      for both offenses was only 47 days. The court noted this
R. Bockhorst, United States Attorneys Office, Abingdon, VA,     disparity in its November 15, 2016 memorandum opinion on
Justin Michael Lugar, Craig Jake Jacobsen, United States        Williams' habeas corpus petition:
Attorneys Office, Roanoke, VA, for United States of America.
                                                                  Prior to his illegal foray into Virginia, Antonio Williams
                                                                  pled guilty to two Florida cocaine possession felonies,
                                                                  and received time-served sentences of 28 and 19 days.
MEMORANDUM OPINION
                                                                  At the time, Williams was 18 years old. Just four years
Michael F. Urbanski, Chief United States District Judge           later, following the jury's finding of guilt, Williams, then
                                                                  only 22 years old, was sentenced to a mandatory term
 *1 This matter is before the court on defendant Antonio          of life imprisonment without release under 21 U.S.C.
Demetrius Williams' motion for compassionate release              § 841(b)(1)(A). One cannot help being struck by the
pursuant to 18 U.S.C. § 3582(c)(1)(A), as revised by the          enormous difference between Williams' state sentences and
First Step Act of 2018, ECF No. 761. The government has           his federal one. After exhaustively examining the issue of
responded, ECF No. 768, and Williams has replied, ECF No.         whether Williams' Florida 2008 and 2009 Possession of
770. For the reasons stated herein, the court will GRANT          Cocaine convictions qualify as felony drug offenses under
Williams' motion for compassionate release, VACATE his            21 U.S.C. § 802(44), the court must conclude that the
life sentence, and REDUCE his sentence to 188 months'             mandatory life sentence imposed on Williams, however
incarceration.                                                    incongruous in light of predicate state convictions, was
                                                                  lawful.
                                                                 *2 Williams, 2016 WL 6780027, at *8. The court remarked
                                                                on this stark disparity at Williams' sentencing hearing on
I.
                                                                March 20, 2013.
On April 1, 2013, the court sentenced Williams to mandatory
                                                                  [W]hat really bothers me about this case is that you've got
life in prison following his conviction for conspiracy to
                                                                  this 22-year-old young man who got slapped on the wrist
distribute 280 grams or more of cocaine base.1 The court has
                                                                  — not even a slap on the wrist. He got a little love tap down
issued two prior memorandum opinions in this case, related to
                                                                  in Florida and he probably thought down there, “I'll plead
a motion pursuant 28 U.S.C. § 2255. ECF Nos. 687, and 699.
                                                                  guilty, I'll take my time served, I'll move on and that's what
The procedural history and factual basis have been thoroughly


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              Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 17 of 25
United States v. Williams, Slip Copy (2020)
2020 WL 5834673

  my lawyer tells me to do, that's what I'll do, I'll get out of   Bureau of Prisons [ (BOP) ]”. Id. Now, following the First
  jail,” not ever knowing that if he gets caught again and is      Step Act, the statute also allows a court to reduce a sentence
  prosecuted federally, he faces mandatory life. That's what's     upon motion by the defendant “if it finds ... extraordinary and
  troubling about this case.... [I]t's just the sheer difference   compelling reasons warrant such a reduction.” Id. The court
  between 28 days and 19 days and now this life sentence           must also consider the “factors set forth in 3553(a), to the
  that under the statute I'm required to impose.                   extent they are applicable,” and ensure that “such a reduction
Sent'g Hr'g Tr., United States v. Antonio Williams, No.            is consistent with the applicable policy statements issued by
5:12cr00014, ECF No. 499, at 9-10.                                 the Sentencing Commission.” Id. As a threshold issue, in
                                                                   order for a defendant to bring a motion before the district
Williams now seeks a reduction in his sentence pursuant to         court, § 3582(c)(1)(A) contains an exhaustion requirement.
18 U.S.C. § 3582(c)(1)(A)(i), arguing that the substantial         The defendant may only bring a motion for compassionate
modifications to the enhancement provisions of 21 U.S.C. §§        release after he “has fully exhausted all administrative rights
841 and 851 in the First Step Act establish “extraordinary and     to appeal a failure of the [BOP] to bring a motion on the
compelling” reasons warranting his compassionate release.          defendant's behalf or the lapse of 30 days from the receipt of
In order to enhance a sentence under § 841(b)(1)(A), the           such a request ... whichever is earlier.” Id.
First Step Act now requires that the predicate conviction be
a “serious drug felony,” as defined at 21 U.S.C. § 802(57),         *3 Accordingly, Williams' requested relief requires the court
in rather than a mere “felony drug offense,” as defined at 21      to consider: (1) if he exhausted his administrative remedies;
U.S.C. § 822(44). While any state or federal drug offense          (2) if so, whether there are extraordinary and compelling
punishable by imprisonment for more than one year qualified        reasons that warrant a reduction in his sentence and if such
as a “felony drug offense,” to qualify as a “serious drug          a reduction is consistent with applicable policy statements of
felony,” the First Step Act now requires that “the offender        the United States Sentencing Commission (the “Sentencing
served a term of imprisonment of more than 12 months.”             Commission”); and (3) if so, what, if any, sentence reduction
21 U.S.C. § 802(57). It is undisputed that Williams served         is appropriate after considering the applicable 18 U.S.C. §
nowhere near 12 months for either of his Florida convictions.      3553(a) factors.
This means that were he sentenced today, Williams' sentence
would not be subject to enhancement and he would no
longer be required to serve a mandatory life sentence.                i. Williams has exhausted available administrative
Indeed, although the statutory maximum for a § 841(b)(1)              remedies.
(A) sentence is life imprisonment, the mandatory minimum           Williams submitted a written request for compassionate
sentence is only 10 years. Williams argues that this sea change    release to the warden of USP Coleman I, seeking a reduction
in mandatory minimum sentences enunciated in the First Step        in his sentence based on extraordinary and compelling
Act constitutes an extraordinary and compelling reason to          circumstances—specifically, that “due to the changes in
warrant reduction of his sentence. As such, Williams asks the      the law made by the First Step Act, none of [his] prior
court to reduce his mandatory life sentence to 120 months.         drug convictions qualify as a ‘serious drug felony,’ thus
For the reasons that follow, the court agrees with Williams,       making [his] guideline sentence under today's law of 188-235
but will reduce his sentence to 188 months, representing the       months.” ECF No. 761-1, at 2. The warden denied his request
                                                                   on April 30, 2020, and Williams appealed. Williams' appeal
low end of his correctly calculated sentencing guidelines.3
                                                                   was likewise denied on May 20, 2020. ECF No. 761-2.
                                                                   Accordingly, the court finds that Williams has exhausted
                                                                   administrative remedies as required by § 3582(c)(1)(A) and
II.                                                                he may properly bring this motion.4

A federal district court “may not modify a term of
imprisonment once it has been imposed” except in limited              ii. Williams presents extraordinary and compelling reasons
circumstances. 18 U.S.C. § 3582(c). One such exception is             to warrant a sentence reduction.
the compassionate release statute, 18 U.S.C. § 3582(c)(1)(A),      The compassionate release statute states that a court may
which was amended by the First Step Act on December 21,            modify a term of imprisonment “upon motion of the
2018. Prior to the amendment, a court could reduce the term        defendant ... if it finds that ... extraordinary and compelling
of imprisonment only “upon a motion by the Director of the         reasons warrant such a reduction ... and that such a reduction


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               Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 18 of 25
United States v. Williams, Slip Copy (2020)
2020 WL 5834673

is consistent with applicable policy statements issued by the        Congress directed the Sentencing Commission to “describe
Sentencing Commission.” § 3582(c)(1)(A). Therefore, the              what should be considered extraordinary and compelling
court must determine if it finds extraordinary and compelling        reasons for sentence reduction.” 28 U.S.C. § 994(t).
reasons exist and if a reduction is consistent with applicable
policy statements.                                                   Following Congress' instructions, the Sentencing
                                                                     Commission published the following policy statement in
First, the court finds that it is valuable to consider the history   the U.S. Sentencing Guidelines Manual (“U.S.S.G.”) with
behind § 3582(c)(1)(A) and the corresponding changes                 respect to compassionate release:
made by the First Step Act. In 1984, Congress passed the
Comprehensive Crime Control Act, including the Sentencing              Upon motion of the Director of the Bureau of Prisons under
Reform Act, which abolished federal parole. See Pub. L. No.            18 U.S.C. § 3582(c)(1)(A), the court may reduce a term
98-473, 98 Stat 1837 (1984); see also Richmond v. Polk, 375            of imprisonment (and may impose a term of supervised
F.3d 309, 316 (4th Cir. 2004) (“the Sentencing Reform Act of           release with or without conditions that does not exceed
1984 ... abolished parole for federal offenses committed after         the unserved portion of the original term of imprisonment)
November 1, 1987”). In its place, Congress passed § 3582(c),           if, after considering the factors set forth in 18 U.S.C. §
which provided that a district court could not modify a final          3553(a), to the extent that they are applicable, the court
term of imprisonment except in limited situations—including            determines that—
for “extraordinary and compelling reasons.” Comprehensive
                                                                          (1)(A) Extraordinary and compelling reasons warrant
Crime Control Act of 1984, § 3582(c), Pub. L. No. 98-473
                                                                          the reduction; or
(current version at 18 U.S.C. § 3582(c)(2018)). In its original
form, only the Director of the BOP could initiate a motion                (B) The defendant (i) is at least 70 years old; and (ii) has
for compassionate release. In other words, the BOP served                 served at least 30 years in prison pursuant to a sentence
as a gatekeeper for whether a district court could consider a             imposed under 18 U.S.C. § 3559(c) for the offense or
motion for compassionate release.                                         offenses for which the defendant is imprisoned;

This rarely used vehicle for sentence modification changed                (2) The defendant is not a danger to the safety of any
dramatically when Congress amended § 3582(c)(1)(A) with                   other person or to the community, as provided in 18
the First Step Act. Section 603(b) of the First Step Act,                 U.S.C. § 3142(g); and
instructively titled “Increasing the Use and Transparency
                                                                         (3) The reduction is consistent with this policy statement.
of Compassionate Release,” amended § 3582(c)(1)(A) to
                                                                     U.S.S.G. § 1B1.13.
allow individual defendants, in addition to the BOP, to file
a motion with the district court for a reduction in their
                                                                     In the commentary for this policy statement, the Sentencing
sentence. See First Step Act of 2018, Pub. L. 115-391, 132
                                                                     Commission provided application notes, identifying four
Stat 5194. Congress added an additional hurdle for defendants
                                                                     ways for a defendant to demonstrate that “extraordinary and
to overcome by implementing the exhaustion requirement,
                                                                     compelling” reasons exist justifying compassionate release:
as discussed above. Accordingly, if a defendant satisfies the
                                                                     (A) the defendant is suffering from a terminal or serious
exhaustion requirement, he can now petition the court directly
                                                                     medical condition; (B) the defendant is over 65 years old, has
for compassionate release.
                                                                     failing health, and has served at least ten years or 75 percent
                                                                     of his sentence, whichever is less; (C) the caregiver of the
 *4 While the First Step Act significantly changed the
                                                                     defendant's minor child dies or becomes incapacitated, or the
compassionate release statute by removing the BOP as the
                                                                     defendant's spouse or partner becomes incapacitated and the
gatekeeper for initiating compassionate release motions, it
                                                                     defendant is the only available caregiver; or (D) as determined
did not change how “extraordinary and compelling” should
                                                                     by the Director of the BOP, for “other reasons” other than,
be defined. Prior to the First Step Act, Congress directed
                                                                     or in combination with, the reasons described in application
the Sentencing Commission to “promulgate and distribute ...
                                                                     notes (A)–(C). U.S.S.G. § 1B1.13, cmt. n. 1(A)–(D).
general policy statements regarding the application of the
guidelines ... including the appropriate use of ... the
                                                                     While this policy statement was first effective on November
sentencing modification provisions set forth in sections ...
                                                                     1, 2006, and amended numerous times since, it has remained
3582(c) of title 18.” 28 U.S.C. § 994(a)(2)(C). Specifically,



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               Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 19 of 25
United States v. Williams, Slip Copy (2020)
2020 WL 5834673

unchanged since the passage of the First Step Act.5 Most            related, or family circumstances, because it always allowed
notably, the policy statement still requires the BOP to serve as    for “other reasons” in application note (D). See U.S.S.G. §
the gatekeeper for initiating compassionate release motions.        1B1.13 cmt n. 1(A)–(D). In the end, Williams argues that
See U.S.S.G. § 1B1.13 (“Upon motion of the Director of              the policy statement “is not binding on the courts because
the Bureau of Prisons ... the court may reduce a term               it is inconsistent with the amended text of § 3582—and the
of imprisonment ...”). Similarly, application note (D) still        undisputed purpose of the First Step Act.” ECF No. 761, at 11.
only allows the BOP to determine what other extraordinary
and compelling reasons exist beyond those enumerated in             The court agrees with Williams that the policy statement
application notes (A)–(C). See U.S.S.G. § 1B1.13, cmt. n.           in § 1B1.13, as currently written, is inconsistent with the
1(D).                                                               First Step Act and is thus not binding on the court. Rather,
                                                                    the policy statement serves an advisory role. See United
Even though the Sentencing Commission has not updated the           States v. Fox, No. 2:14-cr-03, 2019 WL 3046086, at *3 (D.
policy statement following the First Step Act, the government       Me. July 11, 2019) (the “existing policy statement provides
                                                                    helpful guidance on the factors that support compassionate
argues the court is still bound by its language.6 The
                                                                    release, although it is not conclusive given the statutory
government asserts that “the question can be posed as whether
                                                                    change”); see also United States v. Beck, 425 F. Supp.
courts considering compassionate release motions continue
                                                                    3d 573, 579 (M.D.N.C. 2019) (“While the old policy
to be bound by the Sentencing Guidelines policy statement
                                                                    statement provides helpful guidance, it does not constrain
that defines ‘extraordinary and compelling reasons.’ ” United
                                                                    the Court's independent assessment of whether ‘extraordinary
States' Resp. in Opp'n, ECF No. 768, at 2. The government
                                                                    and compelling reasons’ warrant a sentence reduction under
argues that “Congress expressly granted to the Sentencing
                                                                    § 3582(c)(1)(A)(i).”). The compassionate release statute
Commission (not the courts) the power to determine what
                                                                    was amended to allow both the BOP and the defendant,
constitutes a sufficient ground for compassionate release.”
                                                                    after meeting the exhaustion requirement, to bring motions
Id. at 6. Further, the government argues that the First Step
                                                                    for compassionate release and the court finds that there
Act did not change the policy statement and “somehow
                                                                    is no current policy statement applicable to motions for
place[ ] independent discretionary authority in the hands of
                                                                    compassionate release filed by defendants. See United States
a district court to” decide what constituted extraordinary and
                                                                    v. Redd, 444 F. Supp. 3d 717, 724 (E.D. Va. 2020) (“there
compelling reasons. Id. at 7.
                                                                    does not currently exist, for the purposes of satisfying the First
                                                                    Step Act's ‘consistency’ requirement, an ‘applicable policy
 *5 The crux of the government's argument is summed up by
                                                                    statement.’ ”); Beck, 425 F. Supp. 3d at 587 (“There is no
the following excerpt from its brief:
                                                                    policy statement applicable to motions for compassionate
   [T]he FSA merely streamlined the procedural rules by             release filed by defendants under the First Step Act.”); United
   which a defendant could seek compassionate release,              States v. Brooks, No. 07-cr-20047, 2020 WL 2509107, at *5
   allowing a defendant to petition directly to the court instead   (C.D. Ill. May 15, 2020) (collecting cases).
   of requiring the BOP to be the movant. It did not change the
   substantive bases for such relief; those bases were still left   Because § 1B1.13 is inconsistent with the First Step Act,
   to the Sentencing Commission to decide. Unless and until         the application notes are likewise unpersuasive and not
   §§ 994(a)(2)(C) and 994(t) are repealed, they must control.      binding on the court. See Stinson v. United States, 508
   Courts cannot arrogate for themselves powers specifically        U.S. 36, 38, 113 S.Ct. 1913, 123 L.Ed.2d 598 (1993)
   limited by Congress.                                             (“commentary in the Guidelines Manual that interprets or
Id. (emphasis in original).                                         explains a guideline is authoritative unless it violates the
                                                                    Constitution or a federal statute, or is inconsistent with ...
On the other hand, Williams argues that the court is not            that guideline[ ]”). The court is therefore not limited to the
bound by the outdated policy statement and that, because            three enumerated reasons in the application notes and is
there is no policy statement that relates to a defendant bringing   likewise not limited by the BOP's determination of what
a motion for compassionate release, there is no applicable          “other” “extraordinary and compelling” reasons exist. See
policy statement for the revised § 3582(c)(1). Williams             Redd, 444 F. Supp. 3d at 726-27 (“the Court joins other
further argues that the Sentencing Commission did not limit         courts in concluding that a court may find, independent of
“extraordinary and compelling” reasons to medical, age-             any motion, determination or recommendation by the BOP



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              Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 20 of 25
United States v. Williams, Slip Copy (2020)
2020 WL 5834673

Director, that extraordinary and compelling reasons exist        warrant a reduction in his sentence, including reasons other
based on facts and circumstances other than those set forth in   than those enumerated in the application notes to § 1B1.13.
[the application notes]”) (collecting cases).
                                                                 Williams argues that the amendment to the sentence
*6 Instructively, the Redd court wrote the following:            enhancement provisions of §§ 841(b)(1) and 851, such that
                                                                 the enhancements now only apply to a person with a prior
   Application Note 1(D)'s prefatory language, which requires    conviction for a “serious drug felony,” rather than simply
   a determination by the BOP Director, is, in substance,        a “felony drug offense,” constitutes an extraordinary and
   part and parcel of the eliminated requirement that relief     compelling reason warranting a sentence reduction. ECF
   must be sought by the BOP Director in the first instance,     No. 761, at 3. Because neither of his prior Florida cocaine
   particularly since it would be unlikely that the BOP          possession convictions qualify as a “serious drug felony”
   Director would determine that an extraordinary and            under the amended law, if he were sentenced today, he would
   compelling reason exists under Application Note 1(D) but      not face a sentence enhancement. Id. The court agrees with
   then decline to file a motion for compassionate release
                                                                 Williams.7
   based on that determination. For these reasons, whether
   a court's finding of a warranted sentence reduction based
                                                                  *7 When Williams was sentenced, § 841(b)(1)(A) provided
   on “other reasons” would be consistent with U.S.S.G. §
                                                                 for an enhanced penalty of mandatory life imprisonment if
   1B1.13 should be assessed based on whether that finding
                                                                 the defendant committed certain drug conspiracy violations
   would be consistent with those other reasons had they been
                                                                 “after two or more prior convictions for a felony drug offense
   presented to the Court by the BOP Director as the basis for
                                                                 have become final.” 21 U.S.C. § 841(b)(1)(A) (2010). Section
   relief.
                                                                 401 of the First Step Act made two relevant changes to the
Id. at 725-26; see also United States v. Young, No.
                                                                 enhanced penalty of § 841(b)(1)(A): first, it required that the
2:00-cr-00002-1, 2020 WL 1047815, at *6 (M.D. Tenn.
                                                                 defendant have two prior serious drug felony convictions for
Mar. 4, 2020) (“In short, federal judges are no longer
                                                                 the enhancement to apply; and second, it reduced the penalty
constrained by the BOP Director's determination of what
                                                                 for those defendants to a 25-year mandatory minimum,
constitutes extraordinary and compelling reasons for a
                                                                 instead of life. See 21 U.S.C. § 841(b)(1)(A) (2018). Today,
sentence reduction.”); United States v. Haynes, No. 93
                                                                 in order to satisfy the “serious drug felony” requirement, the
CR 1043, 456 F.Supp.3d 496, 2020 WL 1941478, at *13
                                                                 defendant must have served a term of imprisonment of more
(E.D.N.Y. Apr. 22, 2020) (“The title of the First Step
                                                                 than 12 months on each of the prior offenses. See 21 U.S.C.
Act section that amends 18 U.S.C. § 3582(c)(1)(A) ... is
                                                                 § 802(57); 18 U.S.C. § 924(e)(2).
‘Increasing the Use and Transparency of Compassionate
Release.’ ... That title supports the reading that U.S.S.G
                                                                 Here, if Williams were sentenced today, mandatory life
§ 1B1.13 cmt. n.1(D) is not applicable when a defendant
                                                                 imprisonment would not be the outcome. First, he served a
requests relief under § 3582(c)(1)(A) as amended because
                                                                 total of 47 days in jail, 28 for the first conviction and 19 for the
it no longer explains an appropriate use of that statute.”)
                                                                 second. These scant terms of incarceration clearly do not meet
(quoting United States v. Cantu-Rivera, 423 F. Supp. 3d 345,
                                                                 the standard for a “serious drug felony” as § 841(b)(1)(A)
350 (S.D. Tex. 2019)).
                                                                 requires. Second, even if Williams did meet the “serious drug
                                                                 felony” requirement—which he clearly would not—he would
The court adopts the reasoning set forth in Redd and finds
                                                                 only face a mandatory minimum of 25 years' imprisonment,
that the First Step Act revised the compassionate release
                                                                 a far cry from the mandatory life imposed.
statute such that it removed the BOP as the gatekeeper
for who can properly bring a motion. The court reads §
                                                                 The government agrees that “Williams is correct that if
3582(c)(1)(A) to grant the district court the same discretion
                                                                 sentenced today, he would face a mandatory minimum of
as the BOP when it considers a compassionate release
                                                                 120 months instead of life on his conspiracy conviction
motion properly before it, allowing the district court to also
                                                                 because any enhancement would not apply.” ECF No. 768, at
decide if “other reasons” exist to establish “extraordinary
                                                                 11. However, the government argues that because Congress
and compelling reasons.” See United States v. Stephenson,
                                                                 did not make section 401 of the First Step Act retroactive,
No. 3:05-CR-00511, 2020 WL 2566760, at *5 (S.D. Iowa
                                                                 Williams does not have a valid basis for compassionate
May 21, 2020). Therefore, the court will consider if Williams
                                                                 release on account of extraordinary and compelling reasons
has demonstrated extraordinary and compelling reasons to


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              Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 21 of 25
United States v. Williams, Slip Copy (2020)
2020 WL 5834673

and that “using section 3582(c) as a vehicle to effectuate a      difference for Williams is a mandatory ten years in prison as
non-retroactive amendment is legally wrong and would result       opposed to the rest of his life.
in an end-run around Congress' choice on whether to allow
retroactivity.”8 ECF No. 768, at 2.                               Indeed, in United States v. Day, No. 1:05-cr-460, 2020 WL
                                                                  4251803, at * 12, No. 1:05-cr-460 (E.D. Va. July 23, 2020),
The government is correct that the changes to section 401 of      the Eastern District of Virginia held just that.
the First Step Act were not made explicitly retroactive, while
                                                                    There is no doubt that there is a gross disparity between
other sections were made retroactive. See, e.g., First Step Act
                                                                    the sentence Defendant received and the sentence he would
of 2018, Section 404, Pub. L. 115-391, 132 Stat 5194 (making
                                                                    have received after the First Step Act. See United States
changes to the Fair Sentencing Act of 2010 retroactive).
                                                                    v. Urkevich, 2019 U.S. Dist. LEXIS 197408, at *8, 2019
As such, the First Step Act did not grant Williams, and all
                                                                    WL 037391, at *4 (D. Neb. Nov. 14, 2019) (“A reduction
other similarly situated defendants, an automatic reduction
                                                                    in [defendant's] sentence is warranted by extraordinary
in their sentence. Rather, as with changes to the 18 U.S.C.
                                                                    and compelling reasons, specifically the injustice of facing
§ 924(c) “stacking” penalties, where section 403 of the
                                                                    a term of incarceration forty years longer than Congress
First Step Act likewise did not automatically apply, it is
                                                                    now deems warranted for the crimes committed.”). In that
up to the courts to make an individualized assessment of
                                                                    regard, the Court notes that, were Defendant sentenced
a defendant seeking a reduction in his sentence. See Redd,
                                                                    today, his sentence with respect to Count 1 would
444 F. Supp. 3d at 721 (the “First Step Act increased the
                                                                    be dramatically different. Instead of a mandatory Life
opportunity for defendants to obtain a reduction in their
                                                                    sentence (predicated on two qualifying § 851 offenses),
sentence based on an individualized consideration under
                                                                    Defendant would today face a mandatory minimum
designated criteria.”).9 The same applies for section 401           sentence of 15 years (predicated on a single qualifying
of the First Step Act—while Congress did not make the               § 851 offense), with a substantially lower than Life
changes to § 841(b)(1)(A) automatically retroactive, the court      Guidelines sentence. These changes are extraordinary and
can consider the amendments, in addition to undertaking an          compelling developments that constitute extraordinary and
individualized examination of each defendant, in determining        compelling reasons justifying a reduction in Defendant's
if the circumstances warrant a reduction in his sentence under      Life sentence. See Redd, 2020 WL 1248493, at *7, 444
§ 3582(c)(1)(A). See id. (“Nor does the First Step Act's lack       F.Supp.3d 717 (finding as extraordinary and compelling
of retroactivity justify withholding sentencing relief given        the disparity between defendant's sentence at the time of
the overall purpose of the First Step Act amendments, which         his intitial sentencing (603 months) and the sentence he
expressly allowed for the possibility for a sentence reduction      would have received under today's sentencing regime (243
based on an individualized assessment of the § 3553(a) factors      months) for the same offense conduct, a difference that was
and other criteria.”).                                              premised on Congress' repudiation of “stacked” 18 U.S.C.
                                                                    § 924(c) charges arising from a single indictment).
 *8 Williams argues that the dramatic reduction under
section 401 of the First Step Act to the § 841(b)(1)(A)           Consistent with the reasoning of the Eastern District of
enhancements constitutes an extraordinary and compelling          Virginia in Day, the court finds that the dramatic change made
reason warranting a reduction in his sentence. The court          by the First Step Act—changing the predicate conviction
agrees. Similar to the many district courts across the country    required from “felony drug offense” to “serious drug
that have found that the “stacking” changes to § 924(c)           felony” for § 841(b)(1)(A) sentence enhancement purposes
constitute an extraordinary and compelling reason to warrant      —constitutes an extraordinary and compelling reason to
a sentence reduction, the court finds the same holds for the      reduce Williams' sentence. Were he convicted today, neither
tectonic changes to the enhancement provisions of § 841(b)        of Williams' Florida cocaine possession convictions would
(1)(A). See Redd, 444 F. Supp. 3d at 721; Haynes, 2020 WL         qualify to enhance his sentence, lowering his mandatory
1941478, at *15, 456 F.Supp.3d 496 (collecting cases). The        mimimum sentence from life to ten years.
court in Haynes specifically found that “[f]or an individual
like Haynes ... the change [in § 924(c)] spells the difference    The circumstances of this case are especially extraordinary
between thirty years in or out of prison.” 2020 WL 1941478,       and compelling. Shortly after his 18th birthday, Williams
at *15, 456 F.Supp.3d 496. The same must be true when the         committed the two Florida cocaine possession offenses and
                                                                  received time-served sentences of 28 and 19 days. Because


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                 Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 22 of 25
United States v. Williams, Slip Copy (2020)
2020 WL 5834673

the government filed § 851 notices for each of those Florida
convictions in his Western District of Virginia prosecution         (6) the need to avoid unwarranted sentence disparities
under § 841(b)(1)(A), the court was required to sentence               among defendants with similar records who have been
Williams, then only 22 years old, to spend the rest of his life        found guilty of similar conduct.
in federal prison. The gross disparity between the sentences      See United States v. Rodriguez, 451 F. Supp. 3d 392, 406-07
Williams received for his two prior state convictions and         (E.D. Pa. 2020) (citing 18 U.S.C. § 3553(a)).
his federal conviction was extraordinary and compelling in
2013 when he was mandatorily sentenced to life in prison.         During Williams' original sentencing, due to the mandatory
And it is even more extraordinary and compelling now              nature of the sentence based on the §§ 841(b)(1)(A) and 851
that Congress has changed the law such that the sorts of          enhancements, the court was not required to exhaustively
minor sentences served by Williams in Florida no longer           delineate the § 3553(a) factors, including Williams' youth,
qualify to enhance the mandatory minimum penalties under          lack of a leadership position, and non-violent criminal history.
§ 841(b)(1)(A). Now, only a “serious drug felony,” for            The court is now required to consider those factors and, when
which a defendant must have served more than 12 months            applying them to Williams, the court finds that they weigh
in prison, qualifies. Both the striking disparity between         heavily in favor of a sentence reduction.
the short duration of Williams' prior state court sentences
and his federal mandatory life sentence and subsequent            First, when the court sentenced Williams, he was only 22
recognition by Congress that a mandatory life sentence is not     years old, and had just turned 20 when the controlled buys
warranted under these circumstances establish extraordinary       that led to his arrest occurred. The court notes that Williams'
and compelling reasons to vacate Williams' life sentence.         youth is an important factor in determining a just sentence.
                                                                  See U.S.S.G. § 5H1.1 (“Age (including youth) may be
                                                                  relevant in determining whether a departure is warranted, if
   iii. A sentence reduction is appropriate after considering     considerations based on age, individually or in combination
   the § 3553(a) factors.                                         with other offender characteristics, are present to an unusual
 *9 Having found that extraordinary and compelling reasons        degree and distinguish the case from the typical cases covered
exist to warrant a reduction in Williams' sentence, the court     by the guidelines.”). Further, Williams' family circumstances
must consider if a reduction is consistent with the applicable    were less than ideal. His father had been in prison since
§ 3553(a) factors. 18 U.S.C. § 3582(c)(1)(A). Accordingly,        Williams was young,10 his mother was a co-defendant in his
the court must consider the following applicable § 3553(a)        case, and he dropped out of high school in the ninth grade.
factors:                                                          Williams also does not have a violent criminal history and he
                                                                  did not receive an enhancement at sentencing for possession
  (1) the nature and circumstances of the offense and the
     history and characteristics of the defendant;                of a dangerous weapon or use of violence.11

  (2) the need for the sentence imposed—                           *10 Second, while Williams was involved in a serious drug
                                                                  distribution conspiracy, his sentencing guidelines calculations
     (A) to reflect the seriousness of the offense, to promote    did not include an enhancement for possession of a firearm,
     respect for the law, and to provide just punishment for      use of violence or aggravating role. The court does not
     the offense;                                                 diminish the seriousness of Williams' involvement in the
                                                                  conspiracy or the seriousness of the crime, but rather the court
     (B) to afford adequate deterrence to criminal conduct;
                                                                  is required to consider if the sentence imposed is “sufficient,
     (C) to protect the public from further crimes of the         but not greater than necessary.” 18 U.S.C. § 3553(a). In
     defendant; and                                               addition, the two predicate convictions that the government
                                                                  relied on in filing its § 851 enhancement were for two
     (D) to provide the defendant with needed educational or      drug possession convictions in Florida, for which Williams
     vocational training, medical care, or other correctional     served a combined total of 47 days. While both specific and
     treatment in the most effective manner;                      general deterrence require a lengthy term of incarceration for
                                                                  this offense, the court believes that a term of 188 months,
     ... [and]
                                                                  reflecting the low end of his guideline range under current
                                                                  law, to be “sufficient, but not greater than necessary.” Id.



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               Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 23 of 25
United States v. Williams, Slip Copy (2020)
2020 WL 5834673

                                                                    court imposed a sentence near the low end of the guideline
Third, with respect to providing just punishment, the               range of 240 months, to run concurrently. The court stated:
court firmly believes—and the government concurs—that
Williams' mandatory life sentence is too long. See Letter from         *11 I'm varying from the guidelines on each one of those
United States Attorney to Acting Pardon Attorney, 768-1               individual distribution charges, for the following reasons.
(“[The United States Attorney] join[s] him in this request and        I'm going to impose a sentence on each one of those to
urge[s] you to recommend a commutation of Mr. Williams'               run concurrently, of 240 months. I do that because, one its
sentence to 180 months imprisonment.”). To its credit, while          smack dab in the middle of the 235 to 293, which would be
arguing that a compassionate release petition is the “wrong           the guideline range sentence separate and apart from this
legal vehicle,” the government “agree[s] that justice requires        life calculation that ramps up the other to 360 months.
action to fix Williams' sentence.” United States' Resp. in          Sent'g Hr'g Tr., United States v. Antonio Williams, No.
Opp'n, ECF No. 768, at 3.                                           5:12cr00014, ECF No. 499, at 41.


Fourth, as it relates to rehabilitative services, the court notes   The Fourth Circuit has held that in sentencings under
that Williams has taken advantage of his time incarcerated by       the First Step Act, the court must recalculate defendant's
obtaining his GED. The court also takes into consideration          sentencing guidelines range and correct any prior error.
that Williams has a release plan to live with his father and a      United States v. Chambers, 956 F.3d 667 (4th Cir. 2020).
job offer to work in his landscaping business.                      Although Williams was sentenced after enactment of the
                                                                    Fair Sentencing Act, his mandatory life sentence precluded
Finally, the court puts significant weight on the need to           him from benefitting from the two-level reduction in the
avoid unwarranted sentencing disparities. A similarly situated      subsequent Sentencing Guidelines Amendment 782, which
defendant, with the same prior convictions from Florida,            would otherwise have been applicable to his sentence on
would face a mandatory minimum of ten years if sentenced            the measurable quantity distribution counts. Applying that
today. Instead, based on the timing of his offense, Williams, a     two-level reduction to the guidelines calculation for the
22-year-old, was sentenced to spend the remainder of his life       distribution counts yields the same guidelines range as that
incarcerated.                                                       calculated for Count 1 of 188-235 months. Because the
                                                                    Sentencing Commission lowered the drug guideline range
Accordingly, the court concludes that, in light of the              by two levels in Amendment 782, effective after Williams
First Step Act and the changes to the § 841(b)(1)(A)                was sentenced, and this reduction was made retroactive in
sentencing enhancements, a reduction in Williams' sentence is       Amendment 788, Williams is entitled to the benefit of this
appropriate after considering the § 3553(a) factors. Williams       reduction. See 18 U.S.C. § 3582(c)(2).14 Consistent with the
should not remain subject to the draconian sentencing               188 month sentence imposed for Count 1, the sentencing
enhancements that no longer apply simply because he was             factors under § 3553(a) support a reduction on the six
sentenced before the statute was amended.12 As such, the            measurable quantity distribution counts, Counts 2, 3, 4, 6, 9
court will reduce the mandatory life sentence on Count 1            and 10, to 188 months, to run concurrently with each other
to 188 months, imposing a sentence at the low end of the            and with Count 1.

sentencing guidelines as calculated today.13
                                                                    This conclusion squares with the general principle that “the
                                                                    law in effect at the time governs sentencing.” United States
                                                                    v. Schaefer, 120 F.3d 505, 507 (4th Cir. 1997) (citing Hughey
III.                                                                v. United States, 495 U.S. 411, 413 n.1, 110 S.Ct. 1979,
                                                                    109 L.Ed.2d 408 (1990)); see also 18 U.S.C. § 3553(a)(4)
After sentencing Williams to mandatory life on Count 1, the         (A)(ii) (at sentencing, the Court must consider “the kinds
court sentenced him to 240 months on each of six distribution       of sentence and the sentencing range established for–the
counts, to run concurrently. As the sentencing transcript           applicable category of offenses committed ... as set forth in
reveals, the court initally signaled a ten year sentence on         the guidelines–that, except as provided in section 3742(g), are
each of these measureable quantity distribution counts, but         in effect on the date the defendant is sentenced”); U.S.S.G §
changed to twenty years after noting that the guidelines range      1B1.11 (“The court shall use the Guidelines Manual in effect
for these counts, standing alone, was 235 to 293 months. The        on the date that the defendant is sentenced.”). It also finds



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              Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 24 of 25
United States v. Williams, Slip Copy (2020)
2020 WL 5834673

                                                                   under § 841(b)(1)(A) when he was convicted and now, make
support in the court's mandate under § 3553(a) to consider,
                                                                   this an extraordinary and compelling case.
in determining the particular sentence to be imposed, “the
need ... to provide just punishment for the offense,” 18 U.S.C.
                                                                   Accordingly, the court GRANTS Williams' motion for
§ 3553(a)(2)(A); “the kinds of sentences available [at the time
                                                                   compassionate release, ECF No. 761, and his sentence is
of sentencing],” 18 U.S.C. § 3553(a)(3); and “the need to
                                                                   REDUCED as follows.
avoid unwarranted sentencing disparities among defendants
with similar records who have been found guilty of similar
                                                                   Williams' mandatory life sentence on Count 1 is VACATED,
conduct,” 18 U.S.C. § 3553(a)(6).
                                                                   and a total term of imprisonment of 188 months is imposed.
                                                                   Specifically, Williams' sentence on Count 1 is reduced from
 *12 Given the changes in the sentence enhancement
                                                                   life imprisonment to 188 months. Williams' sentences on
provisions of § 841(b)(1)(A) worked by the First Step Act,
                                                                   Counts 2, 3, 4, 6, 9, and 10 are reduced from 240 months
and considering the two-level retroactive reduction in the
                                                                   to 188 months. All terms of imprisonment are to run
drug guideline ranges effectuated by U.S.S.G. Guideline
                                                                   concurrently with each other.
Amendments 782 and 788, the sentencing factors under
§ 3553(a), and the applicable policy statements associated
                                                                   Williams' term of supervised release of 10 years on Count
with these guideline amendments, the court correspondingly
                                                                   1 is VACATED, and a total term of supervised release of 6
reduces Williams' sentences on the distribution counts
                                                                   years is imposed. Specifically, Williams' term of supervised
(Counts 2, 3, 4, 6, 9, and 10) from 240 months to 188
                                                                   release on Count 1 is reduced from 10 years to 6 years, to
months, to run concurrently with each other and the 188
                                                                   run concurrently with the 6-year period of supervised release
month sentence on Count 1.
                                                                   which remain imposed on Counts 2, 3, 4, 6, 9 and 10.

                                                                   In all other respects, the judgment order in this case remains
IV.                                                                in effect.

As both current law and the submission of the United
                                                                   An appropriate order will be entered.
States Attorney to the Pardon Attorney recognize, Antonio
Williams' mandatory life sentence should no longer stand.
His young age, lack of violence and the stark disparity both       All Citations
between his prior Florida sentences and the federal mandatory
life sentence and the requirements for enhanced sentences          Slip Copy, 2020 WL 5834673


Footnotes
1      Williams was sentenced to mandatory life on Count 1, Conspiracy to Distribute 280 Grams or More of Cocaine Base,
       and 240 months, to run concurrently, on multiple distribution counts (Counts 2, 3, 4, 6, 9, and 10) charging distribution
       of a measurable quantity of cocaine base.
2      As noted in footnote 1 of the court's November 15, 2016 memorandum opinion, the government originally claimed that
       Williams had a qualifying felony drug offense conviction on February 23, 2012 in the Circuit Court of Frederick County,
       Virginia. However, Williams' Frederick County conviction was not a qualifying predicate felony drug offense because it was
       not final before he committed the § 841(b)(1)(A) offense in this case. United States v. Antonio Williams, No. 5:12cr00014,
       2016 WL 6780027, at *1 n.1 (W.D. Va. Nov. 15, 2016) (docketed at ECF No. 687). Thus, the only two predicate felony
       drug offenses at issue were the Florida cocaine possession convictions.
3      As currently calculated, Williams would have a total offense level of 34 and a criminal history category of III, yielding a
       guidelines range of 188-235 months.
4      To the extent that Williams has not fully exhausted the available administrative appeals within the BOP, the court also finds
       that the government has waived the exhaustion requirement by failing to argue it in their opposition. See United States
       v. Alam, 960 F.3d 831, 834 (6th Cir. 2020) (finding that the exhaustion requirement is a mandatory claims-processing
       rule that has two exceptions: waiver and forfeiture).
5      See United States Sentencing Commission, Guidelines Manual, Appendix C, Amendments to the Guidelines Manual,
       Amendment 683, available at: https://guidelines.ussc.gov/ac/683 (last visited September 29, 2020).




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              Case 1:90-cr-00863-RJS Document 373 Filed 11/19/20 Page 25 of 25
United States v. Williams, Slip Copy (2020)
2020 WL 5834673

6      The court notes the inherent irony in the government's argument that the court does not have the authority to reduce
       Williams sentence because “the [Sentencing Reform Act] calls for consistent sentencing.” ECF No. 768, at 13. Indeed,
       the court finds it has the authority precisely for this reason—to ensure Williams' sentence is consistent with other similarly
       situated defendants.
7      In an earlier habeas opinion, the court noted that because of a subsequent change in Florida criminal law, had Williams
       been convicted of the two predicate state court drug possession charges a few months later, those convictions would
       not have counted even as felony drug offenses. Williams was convicted on October 3, 2008 and February 3, 2009, and
       the Florida statute was amended to take those crimes out of the felony drug offense category only months later, on July
       1, 2009. See Williams, 2016 WL 687027, at *4-8.
8      While the government opposes Williams' motion for compassionate relief, it supports a reduction in his overall sentence. In
       the letter sent in support of Williams' request for a sentence commutation, the United States Attorney wrote: “Mr. Williams
       was a very young man who had terrible errors in judgment. While I agree he should face a substantial punishment for
       his crimes, a life sentence is simply not warranted under the circumstances ... [I] urge you to recommend a commutation
       of Mr. Williams' sentence to 180 months imprisonment.” ECF No. 768-1, at 2. The government's response in opposition
       notes that Williams' sentence commutation petition remains pending. ECF No. 768, at 1.
9      In United States v. Arey, No. 5:05-cr-00029, 2020 WL 2464796, at *5 (W.D. Va. May 13, 2020), this court agreed with
       Redd, finding that “[w]hile the First Step Act § 403(a) did not make this change retroactive, many district courts have
       reasoned that the First Step Act's change in how sentences should be calculated when multiple § 924(c) charges are
       included in the same indictment constitutes an extraordinary and compelling reason under § 3582(c)(1)(A).” (internal
       citations omitted).
10     While Williams' father was incarcerated when he was young, his father was released from the BOP in 2013 and currently
       resides in Florida and owns and operates his own landscaping business.
11     The policy statement directs the court to consider if the defendant is a danger to the safety of any other person or to the
       community, as provided in U.S.C. § 3142(g). See U.S.S.G. § 1B1.13(2). While the policy statement is not binding on the
       court, the court finds that Williams is not a danger to the community or any other person requiring imprisonment for the
       remainder of his life as he does not have a violent criminal history, did not possess a firearm or engage in violence during
       this offense, and he has a release plan which involves living with his father and an offer of employment.
12     The court notes that in its December 18, 2019, order the court denied Williams' motion to reduce his sentence under the
       First Step Act. ECF No. 760. The court concluded that because the changes made by the First Step Act to § 841(b)(1)(A)
       were not made retroactive, the court could not alter Williams' sentence based on the First Step Act alone. However, at the
       time, Williams had moved solely under the First Step Act, whereas now his motion is predicated on the compassionate
       release statute, § 3582(c)(1)(A). As such, the court has the authority under the compassionate release statute to reduce
       his sentence.
13     Likewise, because Williams' two Florida convictons no longer qualify to enhance his sentence under § 841(b)(1)(A), his
       ten-year term of supervised release, also a product of the former enhancement, is reduced to six years, concurrent with
       the six year term of supervised release on each of the measurable quantity distribution counts.
14     18 U.S.C § 3582(c)(2) allows a court to modify a term of imprisonment “in the case of a defendant who has been
       sentenced to a term of imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing
       Commission ..., the court may reduce the term of imprisonment, after considering the factors set forth in section 3553(a)
       to the extent that they are applicable, if such a reduction is consistent with applicable policy statements issued by the
       Sentencing Commission.”


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